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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    MATTHEW C. BOCKMON, Bar #161566
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    MARC HILL
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      NO. CR S-05-0052-MCE
                                     )
12                  Plaintiff,       )      STIPULATION AND [PROPOSED] ORDER
                                     )      CONTINUING BRIEFING SCHEDULE AND
13        v.                         )      HEARING ON MOTIONS
                                     )
14   ROBERT A. PORTER, JR.,          )
     MARC A. HILL,                   )      Date: August 16, 2005
15   ORION S. PORTER,                )      Time: 8:30 a.m.
                                     )      Judge: David F. Levi
16                  Defendants.      )
                                     )
17   _______________________________ )
18         MICHAEL F. EGAN, by and through his counsel, Matthew C. Bockmon,
19   Assistant Federal Defender; ROBERT PORTER, by and through his counsel,
20   Troy L. Ellerman; ORION PORTER, by and through his counsel, Robert M.
21   Holley; and the United States Government, by and through its counsel,
22   Anne Pings, Assistant United States Attorney, hereby stipulate and
23   agree to vacate the previously scheduled briefing schedule and motions
24   hearing date of July 12, 2005 and continue the hearing on motions to
25   August 16, 2005 at 8:30 a.m. with the new schedule as proposed:
26   ///
27   ///
28   ///
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1                                            OLD DATE               NEW DATE
2          Defendants' motions due           5/24/05                6/21/05
3          Government's responses due        6/20/05                7/19/05
4          Defendants' replies due           6/27/05                8/02/05
5          Hearing on motions                7/12/05                8/16/05
6          IT IS FURTHER STIPULATED that the period from May 24, 2005
7    through August 16, 2005 be excluded in computing the time within which
8    trial must commence under the Speedy Trial Act, pursuant to 18 U.S.C.
9    § 3161(h)(8)(B)(iv) and Local Code T4, for preparation of counsel.
10   Dated: June 1, 2005                     Respectfully submitted,
11                                           QUIN DENVIR
                                             Federal Defender
12
                                             /s/ Matthew C. Bockmon
13                                           ______________________________
                                             MATTHEW C. BOCKMON
14                                           Assistant Federal Defender
                                             Attorney for Defendant
15                                           MARC HILL
16                                           /s/ Matthew C. Bockmon for
                                             _______________________________
17                                           TROY ELLERMAN
                                             Attorney for Defendant
18                                           ROBERT PORTER
                                             per telephonic authorization
19
20                                           /s/ Matthew C. Bockmon for
                                             _______________________________
21                                           ROBERT HOLLEY
                                             Attorney for Defendant
22                                           ORION S. PORTER
                                             per telephonic authorization
23
24                                           /s/ Matthew C. Bockmon for
                                             ________________________________
25                                           ANNE PINGS
                                             Assistant U.S. Attorney
26                                           per telephonic authority
27   ///
28   ///


                                             2
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1
     UNITED STATES OF AMERICA v. PORTER ET AL
2
3                                           ORDER
4    IT IS SO ORDERED.
5    Dated: May 31, 2005
6
7
                                          ___________________________________
8                                         MORRISON C. ENGLAND, JR
9                                         UNITED STATES DISTRICT JUDGE

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